                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


MARWAN MAHAJNI,

                   Plaintiff,
                                                    Case No. 24-cv-416-pp
      v.

MILWAUKEE COUNTY,
VU DO in his individual capacity,
SCOTT WOIDA in his individual capacity,
DAVID CLARKE in his individual and official capacity,
JOHN DOE DEFENDANTS 1 – 5,
and ABC INSURANCE COMPANY,

                   Defendants.


                                PROTECTIVE ORDER


      The parties filed a Stipulated (Proposed) Protective Order. The court

APPROVES the stipulated proposed order and ORDERS under Federal Rule of

Civil Procedure 26(c) and Civil Local Rule 26(e) (E.D. Wis.) that:

       (A) DESIGNATION OF CONFIDENTIAL OR ATTORNEYS’ EYES ONLY
INFORMATION. Designation of information under this order must be made by
placing or affixing on the document or material, in a manner that will not
interfere with its legibility, the words “CONFIDENTIAL” or “ATTORNEYS’ EYES
ONLY.”

            (1) One who produces information, documents, or other material
      may designate them as “CONFIDENTIAL” when the person in good faith
      believes they contain trade secrets or nonpublic confidential technical,
      commercial, financial, personal, or business information.

            (2) One who produces information, documents, or other material
      may designate them as “ATTORNEYS’ EYES ONLY” when the person in
      good faith believes that they contain particularly sensitive trade secrets
      or other nonpublic confidential technical, commercial, financial,
      personal, or business information that requires protection beyond that



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      afforded by a CONFIDENTIAL designation.

             (3) Except for information, documents, or other materials produced
      for inspection at the party’s facilities, the designation of confidential
      information as CONFIDENTIAL or ATTORNEYS’ EYES ONLY must be
      made prior to, or contemporaneously with, their production or
      disclosure. In the event that information, documents or other materials
      are produced for inspection at the party’s facilities, such information,
      documents, or other materials may be produced for inspection before
      being marked confidential. Once specific information, documents, or
      other materials have been designated for copying, any information,
      documents, or other materials containing confidential information will
      then be marked confidential after copying but before delivery to the party
      who inspected and designated them. There will be no waiver of
      confidentiality by the inspection of confidential information, documents,
      or other materials before they are copied and marked confidential
      pursuant to this procedure.

            (4) Portions of depositions of a party’s present and former officers,
      directors, employees, agents, experts, and representatives will be deemed
      confidential only if designated as such when the deposition is taken or
      within 30 days of receipt of the deposition transcript.

            (5) If a party inadvertently produces information, documents, or
      other material containing CONFIDENTIAL or ATTORNEYS’ EYES ONLY
      information without marking or labeling it as such, the information,
      documents, or other material shall not lose its protected status through
      such production and the parties shall take all steps reasonably required
      to assure its continued confidentiality if the producing party provides
      written notice to the receiving party within 10 days of the discovery of the
      inadvertent production, identifying the information, document or other
      material in question and of the corrected confidential designation.

        (B) DISCLOSURE AND USE OF CONFIDENTIAL INFORMATION.
Information, documents, or other material designated as CONFIDENTIAL OR
ATTORNEYS’ EYES ONLY under this order must not be used or disclosed by
the parties or counsel for the parties or any persons identified in
subparagraphs (B)(1) and (2) below for any purposes whatsoever other than
preparing for and conducting the litigation in which the information,
documents, or other material were disclosed (including appeals). The parties
must not disclose information, documents, or other material designated as
confidential to putative class members not named as plaintiffs in putative class
litigation unless and until one or more classes have been certified. Nothing in
this order prohibits a receiving party that is a government agency from
following its routine uses and sharing such information, documents or other




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material with other government agencies or self-regulatory organizations as
allowed by law.

            (1) CONFIDENTIAL INFORMATION. The parties and counsel for the
      parties must not disclose or permit the disclosure of any information,
      documents or other material designated as “CONFIDENTIAL” by any
      other party or third party under this order, except that disclosures may
      be made in the following circumstances:

                  (a) Disclosure may be made to employees of counsel for the
            parties or, when the party is a government entity, employees of the
            government, who have direct functional responsibility for the
            preparation and trial of the lawsuit. Any such employee to whom
            counsel for the parties makes a disclosure must be advised of, and
            become subject to, the provisions of this order requiring that the
            information, documents, or other material be held in confidence.

                    (b) Disclosure may be made only to employees of a party
            required in good faith to provide assistance in the conduct of the
            litigation in which the information was disclosed who are identified
            as such in writing to counsel for the other parties in advance of the
            disclosure of the confidential information, documents or other
            material.

                  (c) Disclosure may be made to court reporters engaged for
            depositions and those persons, if any, specifically engaged for the
            limited purpose of making copies of documents or other material.
            Before disclosure to any such court reporter or person engaged in
            making copies, such reporter or person must agree to be bound by
            the terms of this order.

                   (d) Disclosure may be made to consultants, investigators, or
            experts (collectively “experts”) employed by the parties or counsel
            for the parties to assist in the preparation and trial of the lawsuit.
            Before disclosure to any expert, the expert must be informed of
            and agree to be subject to the provisions of this order requiring
            that the information, documents, or other material be held in
            confidence.

                  (e) Disclosure may be made to deposition and trial witnesses
            in connection with their testimony in the lawsuit and to the court
            and the court’s staff.

                   (f) Disclosure may be made to persons already in lawful and
            legitimate possession of such CONFIDENTIAL information.




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            (2) ATTORNEYS’ EYES-ONLY INFORMATION. The parties and
     counsel for the parties must not disclose or permit the disclosure of any
     information, documents, or other material designated as “ATTORNEYS’
     EYES ONLY” by any other party or third party under this order to any
     other person or entity, except that disclosures may be made in the
     following circumstances:

                 (a) Disclosure may be made to counsel and employees of
           counsel for the parties who have direct functional responsibility for
           the preparation and trial of the lawsuit. Any such employee to
           whom counsel for the parties makes a disclosure must be advised
           of, and become subject to, the provisions of this order requiring
           that the information, documents, or other material be held in
           confidence.

                 (b) Disclosure may be made to court reporters engaged for
           depositions and those persons, if any, specifically engaged for the
           limited purpose of making copies of documents or other material.
           Before disclosure to any such court reporter or person engaged in
           making copies, such reporter or person must agree to be bound by
           the terms of this order.

                  (c) Disclosure may be made to consultants, investigators, or
           experts (collectively “experts”) employed by the parties or counsel
           for the parties to assist in the preparation and trial of the lawsuit.
           Before disclosure to any expert, the expert must be informed of
           and agree to be subject to the provisions of this order requiring
           that the information, documents, or other material be held in
           confidence.

                 (d) Disclosure may be made to deposition and trial witnesses
           in connection with their testimony in the lawsuit and to the court
           and the court’s staff.

                  (e) Disclosure may be made to persons already in lawful and
           legitimate possession of such ATTORNEYS’ EYES-ONLY
           information.

      (C) MAINTENANCE OF CONFIDENTIALITY. Except as provided in
subparagraph (B), counsel for the parties must keep all information,
documents, or other material designated as confidential that are received
under this Order secure within their exclusive possession and must place such
information, documents, or other material in a secure area.

           (1) All copies, duplicates, extracts, summaries, or descriptions
     (hereinafter referred to collectively as “copies”) of information,


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      documents, or other material designated as confidential under this order,
      or any portion thereof, must be immediately affixed with the words
      “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” if not already containing
      that designation.

             (2) To the extent that any answers to interrogatories, transcripts of
      depositions, responses to requests for admissions, or any other papers
      filed or to be filed with the court reveal or tend to reveal information
      claimed to be confidential, these papers or any portion thereof must be
      filed under seal by the filing party with the Clerk of Court utilizing the
      procedures set forth in General L. R. 79(d). If a court filing contains
      information, documents, or other materials that were designated
      “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by a third party, the
      party making the filing shall provide notice of the filing to the third party.

      (D) CHALLENGES TO CONFIDENTIALITY DESIGNATION. A party may
challenge the designation of confidentiality by motion. The movant must
accompany such a motion with the statement required by Civil L. R. 37. The
designating party bears the burden of proving that the information, documents,
or other material at issue are properly designated as confidential. The court
may award the party prevailing on any such motion actual attorney fees and
costs attributable to the motion.

       (E) CONCLUSION OF LITIGATION. At the conclusion of the litigation, a
party may request that all information, documents, or other material not filed
with the Court or received into evidence and designated as CONFIDENTIAL or
ATTORNEYS’ EYES ONLY under this order must be returned to the originating
party or, if the parties so stipulate, destroyed, unless otherwise provided by
law. Notwithstanding the requirements of this paragraph, a party may retain a
complete set of all documents filed with the court, subject to all other
restrictions of this Order.

      Dated in Milwaukee, Wisconsin this 20th day of August, 2024.

                                             BY THE COURT:


                                             ____________________________________
                                             HON. PAMELA PEPPER
                                             Chief United States District Judge




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